       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Tara Ann Baez
       v. Commonwealth of Virginia
       Record No. 0073-23-3
       Opinion rendered by Judge Fulton on
        November 14, 2023

    2. Qualik Nashawn Davis
       v. Commonwealth of Virginia
       Record No. 0903-22-2
       Opinion rendered by Chief Judge Decker on
        November 21, 2023

    3. Graydon Manor, LLC
       v. Board of Supervisors of Loudoun County, Virginia
       Record No. 1012-22-4
       Opinion rendered by Judge Ortiz on
        November 21, 2023

    4. Patrick Austin Carolino
       v. Commonwealth of Virginia
       Record No. 1270-21-1
       En banc opinion rendered by Judge Friedman on
        November 28, 2023

    5. Donald Calway
       v. City of Chesapeake
       Record No. 1692-22-1
       Opinion rendered by Judge Ortiz on
        November 28, 2023

    6. Mary Pat Martin
       v. Ryan S. LaFountain, Commissioner of revenue for the City of Roanoke
       Record No. 0971-22-3
       Opinion rendered by Judge Causey on
        December 12, 2023
7. Arun Rashid Turay
   v. Commonwealth of Virginia
   Record No. 0868-21-3
   En banc opinion rendered by Judge Lorish on
    December 19, 2023

8. Michael Brown
   v. Timothy L. Kirkpatrick
   Record No. 1100-22-1
   En banc opinion rendered by Judge Huff on
    December 19, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Willliam O. Flannagan, Jr.
   v. Commonwealth of Virginia
   Record No. 0923-21-2
   Opinion rendered by Judge AtLee
     on August 16, 2022
   Refused (230484)

2. Margaret Williams
   v. Pamela Legere, et al.
   Record No. 1225-22-1
   Opinion rendered by Judge White
     on May 2, 2023
   Refused (230448)

3. Mamdoh Abouemara
   v. Commonwealth of Virginia
   Record No. 0284-22-2
   Opinion rendered by Judge Raphael
     on June 6, 2023
   Refused (230542)

4. Richard Alan Swezey
   v. Commonwealth of Virginia
   Record No. 0490-22-3
   Opinion rendered by Judge Raphael
     on June 13, 2023
   Refused (230474)
